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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                    NO.   4:99CR00207-002 SWW

FRENANDO SAMPSON, JR.



                                       ORDER

      The above entitled cause came on for hearing on the government’s

motions    to    revoke   the   supervised   release   previously    granted      this

defendant in the United States District Court for the Eastern District

of Arkansas.      Upon the basis of statements on the record, the Court found

that defendant has violated his conditions of supervised release without

just cause after being given a 60-day period to come into compliance.

However, the Court has determined that defendant’s supervised release

should not be revoked at this time but instead will modify the conditions

of his supervised release.

      IT IS THEREFORE ORDERED that defendant’s term of supervised release

shall be modified to include the following special condition:

      1.        Defendant shall be placed in a half-way house for
                a period of SIX (6) MONTHS and recommends City of
                Faith where defendant shall find employment with
                their assistance. The Court recommends that
                defendant participate in drug treatment, if
                available, or counseling sessions, and that he
                attend AA meetings. Defendant is to refrain from
                using alcohol and unlawful substances.

      All other conditions of defendant’s supervised release previously

imposed shall continue and remain in full force and effect until the

expiration of his term of supervised release.
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     The Court reminds defendant that any further violation of the terms

of his supervised release could result in revocation of supervised

release.

     Defendant shall report to the half-way house as soon as practicable

following one week from the date of this order as directed.

     IT IS FURTHER ORDERED that the government’s motions (Docs. #164 and

#171) to revoke defendant’s supervised release are dismissed without

prejudice.

     IT IS SO ORDERED this 11th day of July, 2006.



                                      /s/Susan Webber Wright

                                      UNITED STATES DISTRICT JUDGE
